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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


                                                     ) Case No. 1:18-cv-03307-JMS-TAB
                                                     )
  COVVES, LLC,                                       )
                                                     )
                       Plaintiff,                    )
                                                     )
         v.                                          )
                                                     )
  BIGMOUTH INC., an Indiana                          )
  Corporation; and BIGMOUTH LLC., an                 )
  Indiana Limited Liability Company                  )
                                                     )
                                                     )
                                                     )



                             UNIFORM STIPULATED PROTECTIVE ORDER


  I.     INTRODUCTION

                 The parties, by their undersigned counsel, pursuant to Fed. R. Civ. P. 26(c)(1),

  hereby stipulate to the following provisions of this Court’s Uniform Stipulated Protective Order.

  II.    SCOPE OF PROTECTED INFORMATION

         In the course of discovery in this action, the parties may be required to produce

  information that constitutes, in whole or in part, protected information such as trade secrets, non-

  public research and development, commercial or financial information, or other information that

  may cause harm to the producing party or a non-party. The parties anticipate production of the

  following categories of protected information:

                 (a)      Proprietary information of a party, including trade secrets, sales

  information, and client lists;
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                 (b)     Financial, business or personal information pertaining to the business of a

  party and documents containing such information; and

                 (c)     All matters pertaining to the attorney-client privilege of any party hereto.

  III.   DESIGNATION OF PROTECTED INFORMATION

         A.      Definitions:

              1. Challenging Party: A Party or Non-Party that challenges the designation of

                 information or items under this Order.

              2. "CONFIDENTIAL" Information or Items: Information (regardless of how it is

                 generated, stored or maintained) or tangible things that qualifies for protection

                 under Federal Rule of Civil Procedure 26(c).

              3. Counsel (without qualifier): Outside Counsel of Record and House Counsel (as

                 well as their support staff).

              4. Designating Party: A Party or Non-Party that designates information or items that

                 it produces in disclosures or in responses to discovery as "CONFIDENTIAL" or

                 "ATTORNEYS' EYES ONLY".

              5. Disclosure or Discovery Material: All items or information, regardless of the

                 medium or manner in which it is generated, stored, or maintained (including,

                 among other things, testimony, transcripts, and tangible things), that are produced

                 or generated in disclosures or responses to discovery in this matter.

              6. Expert: A person with specialized knowledge or experience in a matter pertinent

                 to the litigation who (1) has been retained by a Party or its counsel to serve as an

                 expert witness or as a consultant in this action, (2) is not a past or current

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              employee of a Party or of a Party's competitor, and (3) at the time of retention, is

              not anticipated to become an employee of a Party or of a Party's competitor.

           7. House Counsel: Attorneys who are employees of a party to this action. House

              Counsel does not include Outside Counsel of Record or any other outside counsel.

           8. Non-Party: Any natural person, partnership, corporation, association, or other

              legal entity not named as a Party to this action.

           9. Outside Counsel of Record: Attorneys who are not employees of a party to this

              action but are retained to represent or advise a party to this action and have

              appeared in this action on behalf of that party or are affiliated with a law firm that

              has appeared on behalf of that party.

           10. Party: Any party to this action, including all of its officers, directors, employees,

              consultants, retained experts, and Outside Counsel of Record (and their support

              staffs).

           11. Producing Party: A Party or Non-Party that produces Disclosure or Discovery

              Material in this action.

           12. Professional Vendors: Persons or entities that provide litigation support services

              (e.g., photocopying, videotaping, translating, preparing exhibits or

              demonstrations, and organizing, storing, or retrieving data in any form or

              medium) and their employees and subcontractors.

           13. Protected Material: any Disclosure or Discovery Material that is designated as

              "CONFIDENTIAL," or as "ATTORNEYS' EYES ONLY.”




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               14. Receiving Party: A Party that receives Disclosure or Discovery Material from a

                  Producing Party.

          B.      Scope: This Order governs the production and handling of any protected

  information in this action. Any party or non-party who produces protected information in this

  action may designate it as “Confidential” or “Attorneys’ Eyes Only” consistent with the terms of

  this Order. Whenever possible, the Designating Party must designate only those portions of a

  document, deposition, transcript, or other material that contain the protected information and

  refrain from designating entire documents. Regardless of any designations made hereunder, the

  Designating Party is not otherwise restricted from use or disclosure of its protected information

  outside of this action. In addition, any party may move to modify or seek other relief from any

  of the terms of this Order if it has first tried in writing and in good faith to resolve its needs or

  disputes with the other party(ies) pursuant to the terms of this Order and S.D. Ind. L.R. 37-1.

          C.      Application to Non-Parties: Before a non-party is given copies of designated

  information as permitted hereunder, it must first sign the acknowledgment to be bound to these

  terms that is attached hereto as Exhibit A; if it fails to do so, the parties to this action must

  resolve any such dispute before making disclosure of designated information as permitted

  hereunder to the non-party. If a non-party wishes to make designations hereunder, it must first

  sign the acknowledgment to be bound to these terms that is attached hereto as Exhibit A.

          D.      Timing and Provisional Protection: Designations may be made at any time. To

  avoid potential waiver of protection hereunder, the Designating Party should designate

  information at the time of production or disclosure, including on the record during the taking of

  any testimony. Deposition testimony will be deemed provisionally protected for a period of 30

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  days after the transcript is released to the parties by the court reporter, although the parties may

  agree at any time to different timelines of provisional protection of information as Confidential

  or Attorneys’ Eyes Only as part of one or more specific depositions. To retain any designations

  beyond the provisional period, a Designating Party must designate specific pages and lines of

  deposition testimony before the provisional period has expired. Such designations must be made

  in writing so that all counsel and court reporters may append the designation to all copies of the

  transcripts.

          E.      Manner of Designation: Information may be designated hereunder in any

  reasonable manner or method that notifies the Receiving Party of the designation level and

  identifies with specificity the information to which the designation applies. If made verbally, the

  Designating Party must promptly confirm in writing the designation. Whenever possible, the

  Designating Party should stamp, affix, or embed a legend of “CONFIDENTIAL” or

  “ATTORNEYS’ EYES ONLY” on each designated page of the document or electronic image.

          E.      Limitations for Designations of “ATTORNEYS’ EYES ONLY” Information:

  The parties agree that Information or documents qualify for designation as “ATTORNEYS’

  EYES ONLY” only if such information includes or comprises: (a) financial information of a

  Producing Party, including but not limited to individual or aggregate sales information, or

  financial performance documents; or (b) a Producing Party’s customer information, including but

  not limited to information regarding the identity or contact information of a customer, dealer, or

  distributer of a party.




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  IV.    CHALLENGES TO DESIGNATED INFORMATION

         In the event that a Receiving Party disagrees at any time with any designation(s) made by

  the Designating Party, the Receiving Party must first try to resolve such challenge in good faith

  on an informal basis with the Designating Party pursuant to S.D. Ind. L.R. 37-1. The Receiving

  Party must provide written notice of the challenge and the grounds therefor to the Designating

  Party, who must respond in writing to the challenge within 15 days. At all times, the

  Designating Party carries the burden of establishing the propriety of the designation and

  protection level. Unless and until the challenge is resolved by the parties or ruled upon by the

  Court, the designated information will remain protected under this Order. The failure of any

  Receiving Party to challenge a designation does not constitute a concession that the designation

  is proper or an admission that the designated information is otherwise competent, relevant, or

  material.

  V.     LIMITED ACCESS/USE OF PROTECTED INFORMATION

         A.      Restricted Use: Information that is produced or exchanged in the course of this

  action and designated under this Order may be used solely for the preparation, trial, and any

  appeal of this action, as well as related settlement negotiations, and for no other purpose, without

  the written consent of the Designating Party. No designated information may be disclosed to any

  person except in accordance with the terms of this Order. All persons in possession of

  designated information agree to exercise reasonable care with regard to the custody, use, or

  storage of such information to ensure that its confidentiality is maintained. This obligation

  includes, but is not limited to, the Receiving Party providing to the Designating Party prompt

  notice of the receipt of any subpoena that seeks production or disclosure of any designated

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  information and consulting with the Designating Party before responding to the subpoena. Any

  use or disclosure of Confidential or Attorneys’ Eyes Only information in violation of the terms

  of this Order may subject the disclosing person or party to sanctions.

         B.      Access to “Confidential” Information: The parties and all persons subject to this

  Order agree that information designated as “CONFIDENTIAL” may only be accessed or

  reviewed by the following:

                 1. The Court, its personnel, and court reporters;

                 2. Counsel of record for any party in this action and their employees who assist

                      counsel of record in this action and are informed of the duties hereunder;

                 3.   The parties, including their agents and employees who are assisting or have

                      reason to know of this action, so long as each such agent or employee has

                      signed the acknowledgment to be bound to these terms that is attached hereto

                      as Exhibit A;

                 4. Experts or consultants employed by the parties or their counsel for purposes of

                      this action, so long as each such expert or consultant has signed the

                      acknowledgment to be bound to these terms that is attached hereto as Exhibit

                      A; and

                 5. Other witnesses or persons with the Designating Party’s consent or by court

                      order.

         C.      Access to “Attorneys’ Eyes Only” Designations: The parties and all persons

  subject to this Order agree that information designated as “ATTORNEYS’ EYES ONLY” may

  only be accessed or reviewed by the following:

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                 1. The Court, its personnel, and court reporters;

                 2. Counsel of record for any party in this action and their employees who assist

                     counsel of record in this action and are informed of the duties hereunder;

                 3. Independent experts and consultants retained by any party who have executed

                     Exhibit A and whose assistance is necessary for the preparation of trial of this

                     specific action; and

                 4. Other witnesses or persons to whom the Designating Party agrees in advance

                     of disclosure or by court order.

         D.      Review of Witness Acknowledgments: At any time and for any purpose,

  including to monitor compliance with the terms hereof, any Designating Party may demand to

  review all copies of Exhibit A in any Receiving Party’s possession. The Receiving Party must,

  within 3 business days of the demand, provide all such copies to the Designating Party making

  the demand. Notwithstanding the foregoing, if the Receiving Party has retained an expert whose

  identity has not yet been disclosed to the Designating Party, the Receiving Party may generically

  identify how many acknowledgments that it has in its possession attributable to non-disclosed

  experts, whose acknowledgements must later be provided contemporaneously with any reports

  issued by one or more of said experts. If a Receiving Party is not required to disclose the identity

  of any consulting experts, it may not be compelled to produce any acknowledgments from those

  experts to the Designating Party. However, if the Designating Party provides to the Court

  evidence of breach of this Order via unauthorized leak of designated information, the Court may

  require an in camera production of all acknowledgments held by a Receiving Party in order to

  determine breach and consider enforcement of this Order.

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         E.      Non-Waiver Effect of Designations: Neither the taking of, nor the failure to take,

  any action to enforce the provisions of this Order, nor the failure to object to any designation,

  will constitute a waiver of any party’s claim or defense in this action or any other action or

  proceeding, including but not limited to a claim or defense that any designated information is or

  is not confidential, is or is not entitled to particular protection, or embodies or does not embody

  information protectable by law.

         F.      In-Court Use of Designated Information: If information designated pursuant to

  this Order will or may be offered in evidence at a hearing or trial, then the offering party must

  give advance notice to the party or non-party that designated prior to offering the information so

  that any use or disclosure may be addressed in accordance with the Court’s case-management or

  other pre-trial order, or by a motion in limine.

         Nothing in this Order shall be construed as a waiver by a party of any objections that may

  be raised as to the admissibility at trial of any evidentiary materials.

  VI.    CLAW-BACK REQUESTS

                 A.      Failure to Make Designation: If, at any time, a party or non-party

  discovers that it produced or disclosed protected information without designation, it may

  promptly notify the Receiving Party and identify with particularity the information to be

  designated and the level of designation (the claw-back notification). The Receiving Party may

  then request substitute production of the newly-designated information. Within 30 days of

  receiving the claw-back notification, the Receiving Party must (1) certify to the Designating

  Party it has appropriately marked or, if substitute production has been requested, destroyed all

  unmarked copies that it received, made, and/or distributed; and (2) if it was practicably unable to

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   mark or destroy any information because disclosures occurred while the Receiving Party was

   under no duty of confidentiality under the terms of this Order regarding that information, the

   Receiving Party must reasonably provide as much information as practicable to aid the

   Designating Party in protecting the information, consistently with the Receiving Party’s attorney-

   client, work-product, and/or trial-preparation privileges.

                  B.      Inadvertent Production of Privileged Information: If, at any time, a party

   discovers that it produced information that it reasonably believes is subject to protection under

   the attorney/client, work-product, or trial-preparation privileges, then it must promptly notify

   each Receiving Party of the claim for protection, the basis for it, amend its privilege log

   accordingly, and comply with Fed. R. Civ. P. 26(b)(5). Whenever possible, the producing party

   must produce substitute information that redacts the information subject to the claimed

   protection. The Receiving Party must thereupon comply with Fed. R. Civ. P. 26(b)(5) as to the

   information subject to the claimed protection. The parties must also comply with S.D. Ind. L.R.

   37-1 before seeking Court intervention to resolve any related dispute.

   VII.   DURATION/CONTINUED RESTRICTIONS

          A.      Handling of Designated Information Upon Conclusion of Action: Upon

   conclusion of this action, including all appeals, the Designating Party(ies) is/are responsible for

   ensuring that any party or person to whom the party shared or disclosed designated information

   in this action returns or destroys all of its copies, regardless of the medium in which it was

   stored. Within 60 days after the later of dismissal of this action or expiration of all deadlines for

   appeal, the Receiving Party(ies) must certify to each Designating Party that all designated

   information hereunder has been destroyed by all parties and witnesses for whom that party is

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   responsible. No witness or party may retain designated information that it received from any

   other party or non-party under this Order; only counsel of record are the authorized agents who

   may retain one copy for their respective legal files, and who must also describe to the

   Designating Party the extra steps taken to seal its legal file containing paper and/or electronic

   copies of the designated information so that it is not accessed, used, or disclosed inconsistently

   with the obligations under this Order. This provision does not apply to the Court or Court staff.

                  B.      Continued Restrictions Under this Order: The restrictions on disclosure

   and use of confidential information survive the conclusion of this action.

   VIII. REQUESTS TO SEAL

          This protective order does not authorize a party to file or maintain a document under seal.

   Any party that seeks to file any document, or any portion of a document, under seal, and any

   party that opposes its maintenance under seal, must comply with S.D. Ind. L.R. 5-11.

   Dated: September 24, 2019                          Dated: September 24, 2019

   /s/ Stephen McArthur                               /s/ Morgan Nickerson
   Stephen C. McArthur (pro hac vice)                 Morgan Nickerson (pro hac vice)
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   Attorneys for Plaintiff                            Attorneys for Defendants




          So ORDERED:

   Dated: _________________________                _____________________________
                                                   Tim A. Baker
                                                   United States Magistrate Judge
                                                   Southern District of Indiana

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                                                   EXHIBIT A


                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


                                                      ) Case No. 1:18-cv-03307-JMS-TAB
                                                      )
   COVVES, LLC,                                       )
                                                      )
                      Plaintiff,                      )
                                                      )
          v.                                          )
                                                      )
   BIGMOUTH INC., an Indiana                          )
   Corporation; and BIGMOUTH LLC., an                 )
   Indiana Limited Liability Company                  )
                                                      )
                                                      )
                                                      )


                       AGREEMENT TO BE BOUND BY PROTECTIVE ORDER

          The undersigned acknowledges having been provided with and having read the “Uniform

   Stipulation Protective Order” in this matter (“Protective Order”). The undersigned further agrees

   he/she (i) is bound under the Protective Order, (ii) will comply with all of its provisions, and (iii)

   is subject to the jurisdiction of the Court for all purposes arising under the Protective Order,

   including enforcement of its terms.

   Dated: _______________________________             __________________________________




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